      Case 6:23-cv-06057-DGL-MJP Document 30 Filed 07/17/23 Page 1 of 1




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

__________________________________________
SHENEA JAMES, as administrator of the estate
of DEDRICK JAMES, deceased, & SHENEA
JAMES individually
                            Plaintiff(s),
                                                                MEDIATION
                                                              CERTIFICATION

                                                                 23 - cv - ______
                                                               ______      6057
                              v.

UNITED STATES OF AMERICA, et al.


                                Defendant(s).

__________________________________________



   I hereby certify that:

   The mediation session scheduled for___________ has been adjourned to ___________.

   Case settled prior to the first mediation session.
✔ Mediation session was held on ______________.
                                    7/17/23

       Case has settled. (Comment if necessary).

       Case has settled in part. (Comment below). Mediation will continue on________.

       Case has settled in part. (Comment below). Mediation is complete.

       Case has not settled. Mediation will continue on ________________________.

   ✔ Case has not settled.


                                                              Steven V. Modica
Date: ______________
      07/17/2023                              Mediator: /S/ __________________________

Additional Comments:
________________________________________________________________________
________________________________________________________________________
________________________________________________________________________

    Print              Clear Form
